735 F.2d 1049
    119 L.R.R.M. (BNA) 2392
    NATIONAL LABOR RELATIONS BOARD, Petitioner,andInternational Union, United Automobile, Aerospace andAgricultural Implement Workers of America, UAW,Intervening-Petitioner,v.HARRISON STEEL CASTINGS COMPANY, Respondent.
    No. 82-2866.
    United States Court of Appeals, Seventh Circuit.
    June 5, 1984.
    
      Enforcement of an Order of the National Labor Relations Board.
      Before CUMMINGS, Chief Judge, and PELL, BAUER, WOOD, CUDAHY, ESCHBACH, POSNER, COFFEY and FLAUM, Circuit Judges.
      On consideration of the "MOTION FOR POSTPONEMENT OF ORAL ARGUMENT IN BANC AND LIMITED REMAND" filed herein on May 31, 1984.
      IT IS ORDERED that the en banc oral argument scheduled in this appeal for June 13, 1984, is hereby VACATED.
    
    
      1
      IT IS FURTHER ORDERED that the issues as to whether the company's statements violated Sec. 8(a)(1) of the National Labor Relations Act be REMANDED to the National Labor Relations Board for further consideration.
    
    
      2
      IT IS ALSO FURTHER ORDERED that the judgment is hereby REINSTATED with respect to the enforcement of the National Labor Relations Board's order as to all other issues.
    
    